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16
17                       IN THE UNITED STATES DISTRICT COURT

18                            FOR THE DISTRICT OF ARIZONA

19
     United States of America,                          No. CR-18-422-PHX-SMB
20
                          Plaintiff,
21                                                    UNITED STATES’ UNOPPOSED
              v.                                     MOTION TO EXTEND DEADLINE
22                                                       TO FILE RESPONSE TO
                                                      DEFENDANT JOHN BRUNST’S
23   Michael Lacey, et al.,                               MOTION TO DISMISS
                                                         INDICTMENT (Doc. 746)
24                        Defendants.

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 1          On September 27, 2019, Defendant John Brunst filed a Motion to Dismiss
 2   Indictment (Doc. 746.)     Due to travel and Fall Break schedules, the United States
 3   respectfully requests a one-week extension of its deadline for filing its Response, from
 4   October 11 to October 18, 2019. Defendant Brunst’s counsel has informed the United
 5   States that he has no objection to the requested extension.
 6          For the foregoing reasons, the United States respectfully requests that the Court
 7   enter the attached proposed order.
 8          Excludable delay under 18 U.S.C. § 3161(h) may occur as a result of this motion or
 9   an order based thereon.
10
11          Respectfully submitted this 7th day of October, 2019.
12                                             MICHAEL BAILEY
                                               United States Attorney
13                                             District of Arizona
14                                             s/ Peter S. Kozinets
15                                             KEVIN M. RAPP
                                               MARGARET PERLMETER
16                                             PETER S. KOZINETS
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24                                             Child Exploitation and Obscenity Section

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                                 CERTIFICATE OF SERVICE
 1
 2          I hereby certify that on October 7, 2019, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
 5   as counsel of record.
 6
     s/ Angela Schuetta
 7   Angela Schuetta
     U.S. Attorney’s Office
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